      Case 19-00730-5-JNC           Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                      Page 1 of
                                                     32

                             81,7('67$7(6%$1.5837&<&2857
                            ($67(51',675,&72)1257+&$52/,1$
                                 GREENVILLE ',9,6,21
       ,15(                                                           &+$37(5
        CAH ACQUISTION COMPANY #1, LLC
                                                                    &$6(12 19-00730-5-JNC
        d/b/a WASHINGTON COUNTY HOSPITAL

                '(%725                                                  &KHFNLIWKLVLVDQDPHQGHGILOLQJ

                 0217+/<5(32572)&25325$7('(%725,1
                          3266(66,2175867((

       '$7(3(7,7,21:$6),/('                February 19, 2019

       5(3257,1*3(5,2'&29(5(' May                       1, 2019 - May 31, 2019

       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQFRQWDLQHGLQWKLVUHSRUWLVWUXHDQGFRUUHFW
       WRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI

       '(%725         

       2IILFHU1DPH 7LWOH Thomas W. Waldrep, Jr., Trustee

              6/24/2019
       'DWH

       6LJQDWXUH s/Thomas W. Waldrep, Jr., Trustee



       ,KDYHUHDGWKHLQIRUPDWLRQLQWKLVUHSRUWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQLVWUXHDQGFRUUHFW
       WRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI

       $77251(<)257+('(%725
       ATTORNEY FOR TRUSTEE:


       3ULQWHG1DPH Jason L. Hendren                           'DWH 6/24/2019


       6LJQDWXUH
                    s/Jason L. Hendren




3HQDOW\IRUPDNLQJDIDOVHVWDWHPHQWRUILOLQJDIDOVHUHSRUW)LQHRIXSWRRULPSULVRQPHQWIRUXSWR\HDUV
                                           RUERWK86&DQG

                                                                                   5HYLVHG'HFHPEHU
       Case 19-00730-5-JNC       Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53          Page 2 of
                                                  32
                         3$57$%86,1(6623(5$7,216

 ,    6XPPDU\RI%XVLQHVV2SHUDWLRQV

         3OHDVHVXPPDUL]HWKH'HEWRU¶VEXVLQHVVDFWLYLWLHVIRUWKHPRQWK

      The Trustee reopened the hospital on May 1, 2019 with Affinity Health Partners, LLC
serving as the management company.




         'LGWKH'HEWRURSHUDWHZLWKDFDVKVXUSOXVRUFDVKORVVIRUWKHPRQWK",IWKH'HEWRURSHUDWHG
        DWDORVVSOHDVHH[SODLQZKDWDIIHFWHGSURILWDELOLW\

       The Debtor operated with a cash loss for the month.




         'LGWKH'HEWRUKDYHDQ\VLJQLILFDQWUHFHLSWVRUGLVEXUVHPHQWVWKLVPRQWKWKDWZHUHXQXVXDORU
        GRQRWUHRFFXUHYHU\PRQWK")RUH[DPSOHUHFHLSWVZRXOGLQFOXGHLQVXUDQFHFODLPSURFHHGVWD[
        UHIXQGVDQGIXQGVIURPVDOHSURFHHGV'LVEXUVHPHQWVZRXOGLQFOXGHDQQXDORUTXDUWHUO\
        LQVXUDQFHSUHPLXPVWD[SD\PHQWVODUJHUHSDLUVHWF

               D 5(&(,376±

               None



               E ',6%856(0(176±

               None




                                                                         5HYLVHG'HFHPEHU
       Case 19-00730-5-JNC     Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53          Page 3 of
                                                32
 ,,   6XPPDU\RI&KDSWHU$FWLYLWLHV

        :HUHDQ\WUDQVDFWLRQVWKLVPRQWKRXWVLGHRIWKHRUGLQDU\FRXUVHRIEXVLQHVV")RUH[DPSOH
       GLGWKH'HEWRUVHOODQ\SURSHUW\UHFHLYHDORDQIURPDWKLUGSDUW\RUPDNHDQ\ODUJHSXUFKDVHV"
       ,I\HVSOHDVHGHVFULEH

        None




        :KDWVWHSVKDVWKH'HEWRUWDNHQWRZDUGUHRUJDQL]DWLRQRUOLTXLGDWLRQ"

The Trustee hired various professionals in this cases including co-counsel, an accountant, a
financial consultant and special counsel to deal with regulatory issues. The Trustee is continuing
to evaluate his options regarding reorganization.




                                                                        5HYLVHG'HFHPEHU
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                                             32

                         3$57%&(57,),&$7,216

    ,VWKH'HEWRUFXUUHQWRQDOOSRVWSHWLWLRQWD[REOLJDWLRQV";<HV1R
                                                                     ✔

      ,IWKH'HEWRUFKHFNHGQRSOHDVHFRPSOHWHWKHFKDUWEHORZ

                                                                     $PRXQW2I7D[HV
                    1DPHRI7D[LQJ$XWKRULW\
                                                                         2ZHG




     +DVWKH'HEWRUILOHGDOOQHFHVVDU\WD[IRUPV HJDQG FRPLQJGXHVLQFH
        WKHSHWLWLRQGDWH"<HV1R* This information is unknown the to Trustee at this time.

       ,IWKH'HEWRUFKHFNHGQRSOHDVHSURYLGHLQIRUPDWLRQUHJDUGLQJWKHWD[IRUPVWKDWDUH
        FXUUHQWO\XQILOHG




     ,VWKH'HEWRUFXUUHQWRQDOOSRVWSHWLWLRQDGPLQLVWUDWLYHH[SHQVHV H[FOXGLQJWD[
        REOLJDWLRQV "<HV1R * This information is unknown to the Trustee at this time.

        ,IWKH'HEWRUFKHFNHGQRSOHDVHFRPSOHWHWKHFKDUWEHORZ

                1DPHRI$GPLQLVWUDWLYH&UHGLWRU                       $PRXQW2ZHG




                                                                            5HYLVHG'HFHPEHU
Case 19-00730-5-JNC          Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 5 of
                                              32

     $UHWKH'HEWRU¶VLQVXUDQFHSROLFLHVLQIXOOIRUFHDQGHIIHFW"<HV1R
                                                                        ✔

        ,IWKH'HEWRUFKHFNHGQRSOHDVHGHWDLOZKLFKSURSHUW\RZQHGE\WKH'HEWRULVQRW
        LQVXUHG




     +DVWKH'HEWRUFORVHGDOOSUHSHWLWLRQEDQNDFFRXQWV"<HV1R
                                                                           ✔

        ,IWKH'HEWRUFKHFNHGQRSOHDVHOLVWWKHSUHSHWLWLRQEDQNDFFRXQWVWKDWDUHVWLOORSHQDQG
        ZKHWKHUWKH'HEWRUVRXJKW&RXUWDSSURYDOWRNHHSWKHDFFRXQWVRSHQ

                                                              /DVW'LJLWV     &RXUW$SSURYDO
                  1DPHRI%DQNLQJ,QVWLWXWLRQ
                                                               RI$FFRXQW            <1 
                           U.S. Bank                              3804                   N
                         Southern Bank                            0487                   N
                         Southern Bank                            0495                   N




     'LGWKH'HEWRUSD\DQ\SUHSHWLWLRQXQVHFXUHGGHEWVWKLVUHSRUWLQJSHULRG"           <HV1R
                                                                                                       ✔

         ,IWKH'HEWRUFKHFNHG\HVSOHDVHFRPSOHWHWKHFKDUWEHORZ

                     1DPHRI8QVHFXUHG&UHGLWRU                            $PRXQW3DLG




                                                                                     5HYLVHG'HFHPEHU
Case 19-00730-5-JNC          Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 6 of
                                              32


     'LGWKH'HEWRUGHSRVLWDOOVRXUFHVRILQFRPHLQWRLWV',3EDQNDFFRXQWVWKLVUHSRUWLQJ
        SHULRG"<HV1R
                              ✔


        ,IWKH'HEWRUFKHFNHGQRSOHDVHGHWDLOZKHUHWKHHVWDWHIXQGVZHUHGHSRVLWHGRU LIQRW
        GHSRVLWHG KRZWKHIXQGVZHUHGLVEXUVHG
         The Debtor's income was deposited into Southern Bank #0487 and US Bank #3804.




     'LGWKH'HEWRUSD\DQ\SURIHVVLRQDOV HJDWWRUQH\RUDFFRXQWDQW ZLWKRXWSULRU&RXUW
       DSSURYDOWKLVUHSRUWLQJSHULRG"<HV1R
                                                      ✔


       ,IWKH'HEWRUFKHFNHG\HVSOHDVHFRPSOHWHWKHFKDUWEHORZ

                             1DPHRI3URIHVVLRQDO                            $PRXQW3DLG




     'LGWKH'HEWRUVHOORUWUDQVIHUDQ\SURSHUW\RXWVLGHRIWKHRUGLQDU\FRXUVHRIEXVLQHVV
       ZLWKRXWSULRU&RXUWDSSURYDOGXULQJWKLVUHSRUWLQJSHULRG"<HV1R
                                                                                  ✔


       ,IWKH'HEWRUFKHFNHG\HVSOHDVHSURYLGHDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKHSURSHUW\
       WKDWZDVVROGRUWUDQVIHUUHG




                                                                                  5HYLVHG'HFHPEHU
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    'LGDQ\SHUVRQRUHQWLW\SD\DQ\H[SHQVHVRUFRVWVRQEHKDOIRIWKH'HEWRUGXULQJWKLV
       UHSRUWLQJSHULRG"<HV1R
                           ✔


        ,I WKH 'HEWRU FKHFNHG \HV SOHDVH OLVW DOO H[SHQVHV SDLG RQ EHKDOI RI WKH 'HEWRU
        LQFOXGLQJWKHQDPHRIWKHSHUVRQRUHQWLW\ZKRPDGHWKHSD\PHQWV
        Trustee employed Affinity Health Partners as Washington County Hospital's
        management company. Affinity's transactions in its Washington County accounts are
        included in this report.




    'LGWKH'HEWRUWUDQVIHUDQ\SURSHUW\WRRUIRUWKHEHQHILWRIDQRIILFHURULQVLGHURIWKH
       'HEWRURUDUHODWLYHRIDQRIILFHURULQVLGHURIWKH'HEWRUGXULQJWKHUHSRUWLQJSHULRG
        DWUDQVIHULQFOXGHVEXWLVQRWOLPLWHGWRWKHSD\PHQWRISHUVRQDOH[SHQVHVSURYLVLRQRI
       QRQFRXUW DSSURYHG IULQJH EHQHILWV SXUFKDVH RI LWHPV IRU D SHUVRQDO QRQEXVLQHVV
       SXUSRVH "<HV1R
                               ✔


       ,IWKH'HEWRUFKHFNHG\HVSOHDVHOLVWDOOH[SHQVHVRUFRVWVWKH'HEWRUSDLGRQEHKDOIRI
       DQ\RIILFHURULQVLGHURIWKH'HEWRURURQEHKDOIRIDUHODWLYHRIDQRIILFHURULQVLGHURI
       WKH'HEWRU




                                                                                 5HYLVHG'HFHPEHU
Case 19-00730-5-JNC       Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 8 of
                                           32

                 3$57&6800$5<2)&$6+5(&(,376
                    $1'',6%856(0(176


 1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                          7D[$FFRXQW /DVW'LJLWV 
                                         3D\UROO$FFRXQW /DVW'LJLWV 
                                      ✔ Trustee's Account                 /DVW'LJLWV 4572  

                                                                   $02817


    &$6+%$/$1&()52035(9,286                                    1,888,792.04
      0217+ 65(3257

    727$/5(&(,37675$16)(5681&/($5('                            0.00
      >2QIROORZLQJSDJH(;+,%,7
      SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



    727$/',6%856(0(17675$16)(5681&/($5(' 450,278.15
      >2QIROORZLQJSDJH(;+,%,7
      SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


    (1',1*5(&21&,/('%$/$1&(                                      1,438,513.89



                  6800$5<2)%$1.$&&2817,1)250$7,21


    (1',1*%$1.%$/$1&(                                          1,438,513.15

    3/8681&/($5(''(326,76                                       0.00

    /(6681&/($5('&+(&.6                                         0.00

    (1',1*5(&21&,/('%$/$1&(                                    1,438,513.15



       ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ




                                                                             5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53           Page 9 of
                                            32


                                      (;+,%,7

                                                                        4572 
     '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


 5(&(,376                                           $02817



 6DOHV                                               

 5HQWDO,QFRPH                                       

 &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH      
 &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH       


 %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ             OLVWDPRXQWVEHORZ 

         D                                           D
          E                                           E
          F                                            F

                                                                     7RWDO 0.00
 7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
 GLJLWVRIDFFRXQWQXPEHUVEHORZ 
         D                                           D
          E                                           E
          F                                            F 

                                                                               0.00
                                                                     7RWDO 

 2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV         OLVWDPRXQWVEHORZ 
 EHORZ 
                                                       D
         D                                           E
          E                                           F
          F
                                                                     7RWDO 0.00
 /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV            



                                 Î  727$/ 0.00

                    7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&

                                                                          5HYLVHG'HFHPEHU
Case 19-00730-5-JNC       Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 10 of
                                           32                Click to add another account
                                      (;+,%,7
                                                                        4572 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       2,601.07
  4XDUWHUO\)HHV                                      650.00
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                             D  $ 365,619.63
              Transfer to #0487
           D 
                                                             E  $ 81,407.45
          E Transfer to Affinity
                                                              F 
           F
                                                                              447,027.08
                                                                    7RWDO 
  2WKHU 3529,'($77$&+0(17                           


                                Î 727$/  450,278.15

                 7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&


                                                                         5HYLVHG'HFHPEHU
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                                            32

                         6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                           Southern Bank Account /DVW'LJLWV 0487 

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    30,316.18
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            380,763.47
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 192,972.06
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                    218,107.59



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          218,107.59

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             218,107.59



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ




                                                                              5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53             Page 12 of
                                            32


                                       (;+,%,7

                                                                         0487 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      15,140.72


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                       7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D Transfer from Trustee Acct               D  $ 365,619.63
           E                                          E
           F                                           F 

                                                                                 365,619.63
                                                                       7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D  $ 3.12
          D Interest                                 E
           E                                          F
           F
                                                                       7RWDO 3.12
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           



                                  Î  727$/ 380,763.47

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&

                                                                           5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 13 of
                                            32                Click to add another account
                                       (;+,%,7
                                                                        0487 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         91,554.42
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       8,495.16
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              46,267.94
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     3,518.25
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              5,709.45
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     854.00
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                             D
           D 
                                                             E
          E
                                                              F 
           F
                                                                                0.00
                                                                      7RWDO 
  2WKHU 3529,'($77$&+0(17                           36,572.84


                                  Î 727$/  192,972.06

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&


                                                                          5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 14 of
                                            32

                        6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                           Southern Bank Account /DVW'LJLWV 0495 

                                                                     $02817


     &$6+%$/$1&()52035(9,286                                    374.04
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            422.46
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 0.00
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     796.50



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                           796.50

     3/8681&/($5(''(326,76                                        0.00

     /(6681&/($5('&+(&.6                                          0.00

     (1',1*5(&21&,/('%$/$1&(                             796.50



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ




                                                                               5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53               Page 15 of
                                            32


                                       (;+,%,7

                                                                         0495 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                           $02817



  6DOHV                                               

  5HQWDO,QFRPH                                       
  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH      

  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH       


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ             OLVWDPRXQWVEHORZ 

          D                                           D
           E                                           E
           F                                            F

                                                                       7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                        OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                           D
           E                                           E
           F                                            F 

                                                                                 0.00
                                                                       7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV         OLVWDPRXQWVEHORZ 
  EHORZ 
                                                        D  $ 422.46
          D Misc. Deposit                             E
           E                                           F
           F
                                                                       7RWDO 422.46
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV            



                                  Î  727$/ 422.46

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&

                                                                           5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 16 of
                                            32                Click to add another account
                                       (;+,%,7
                                                                        0495 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                               D
           D 
                                                               E
          E
                                                                F 
           F
                                                                                  0.00
                                                                        7RWDO 
  2WKHU 3529,'($77$&+0(17                           


                                  Î 727$/  0.00

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&


                                                                            5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 17 of
                                            32

                        6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                           US Bank Account                 /DVW'LJLWV 3804  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    152,368.14
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            55,388.16
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 0.00
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     207,756.30



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          207,756.30

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             207,756.30



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ




                                                                              5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53            Page 18 of
                                            32


                                       (;+,%,7

                                                                         3804 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      
  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     

  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      55,388.16


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                      7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                          D
           E                                          E
           F                                           F 

                                                                                0.00
                                                                      7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D
          D                                          E
           E                                          F
           F
                                                                      7RWDO 0.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           



                                  Î  727$/ 55,388.16

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&

                                                                          5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 19 of
                                            32                Click to add another account
                                       (;+,%,7
                                                                        3804 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
                                                               D
           D 
                                                               E
          E
                                                                F 
           F
                                                                                  0.00
                                                                        7RWDO 
  2WKHU 3529,'($77$&+0(17                           


                                  Î 727$/  0.00

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&


                                                                            5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 20 of
                                            32

                        6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Affinity Account                  /DVW'LJLWV 5931  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    0.00
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            81,507.45
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 0.00
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     81,507.45



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          81,507.45

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             81,507.45



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ




                                                                                 5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53              Page 21 of
                                            32


                                       (;+,%,7

                                                                         5931 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                          $02817



  6DOHV                                              

  5HQWDO,QFRPH                                      

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH     
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH      


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ            OLVWDPRXQWVEHORZ 

          D                                          D
           E                                          E
           F                                           F

                                                                      7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                       OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D Transfer from Trustee                    D  $ 81,407.45
           E                                          E
           F                                           F 

                                                                                81,407.45
                                                                      7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV        OLVWDPRXQWVEHORZ 
  EHORZ 
                                                       D  $ 100.00
          D initial deposit                          E
           E                                          F
           F
                                                                      7RWDO 100.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV           



                                  Î  727$/ 81,507.45

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&

                                                                          5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 22 of
                                            32                Click to add another account
                                       (;+,%,7
                                                                        5931 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
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                                                               E
          E
                                                                F 
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  2WKHU 3529,'($77$&+0(17                           


                                  Î 727$/  0.00

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&


                                                                            5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                    Page 23 of
                                            32

                        6800$5<2)&$6+5(&(,376
                         $1'',6%856(0(176


  1$785(7<3(2)$&&2817                 2SHUDWLQJ$FFRXQW /DVW'LJLWV            
                                           7D[$FFRXQW /DVW'LJLWV 
                                          3D\UROO$FFRXQW /DVW'LJLWV 
                                       ✔ Affinity Payroll Acct             /DVW'LJLWV 5944  

                                                                    $02817


     &$6+%$/$1&()52035(9,286                                    0.00
       0217+ 65(3257

     727$/5(&(,37675$16)(5681&/($5('                            100.00
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHVRXUFHDQGDPRXQW@



     727$/',6%856(0(17675$16)(5681&/($5(' 0.00
       >2QIROORZLQJSDJH(;+,%,7
       SURYLGHDGHVFULSWLRQRIWKHGLVEXUVHPHQWV@


     (1',1*5(&21&,/('%$/$1&(                                     100.00



                   6800$5<2)%$1.$&&2817,1)250$7,21


     (1',1*%$1.%$/$1&(                                          100.00

     3/8681&/($5(''(326,76                                       0.00

     /(6681&/($5('&+(&.6                                         0.00

     (1',1*5(&21&,/('%$/$1&(                             100.00



        ,ILWHPGLIIHUVIURP,WHPSOHDVHH[SODLQ




                                                                                 5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53               Page 24 of
                                            32


                                       (;+,%,7

                                                                         5944 
      '(6&5,37,21,7(0,=$7,212)5(&(,376 /DVW'LJLWVRI$FFW


  5(&(,376                                           $02817



  6DOHV                                               

  5HQWDO,QFRPH                                       

  &ROOHFWLRQRISRVWSHWLWLRQDFFRXQWVUHFHLYDEOH      
  &ROOHFWLRQRISUHSHWLWLRQDFFRXQWVUHFHLYDEOH       


  %RUURZLQJE\'HEWRU OLVWVRXUFHVEHORZ             OLVWDPRXQWVEHORZ 

          D                                           D
           E                                           E
           F                                            F

                                                                       7RWDO 0.00
  7UDQVIHUVIURPRWKHUDFFRXQWV OLVWODVW
                                                        OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
          D                                           D
           E                                           E
           F                                            F 

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                                                                       7RWDO 

  2WKHUIRUPVRILQFRPHGHSRVLWV OLVWVRXUFHV         OLVWDPRXQWVEHORZ 
  EHORZ 
                                                        D  $ 100.00
          D initial deposit                           E
           E                                           F
           F
                                                                       7RWDO 100.00
  /HVVDOORZDQFHIRUUHWXUQVDQGGLVFRXQWV            



                                  Î  727$/ 100.00

                     7RWDOHTXDOVLWHP 7RWDO&DVK5HFHLSWV RQ3DUW&

                                                                           5HYLVHG'HFHPEHU
Case 19-00730-5-JNC        Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 25 of
                                            32                Click to add another account
                                       (;+,%,7
                                                                        5944 
      '(6&5,37,21,7(0,=$7,212)',6%856(0(176 /DVW'LJLWVRI$FFW

  ',6%856(0(176                                      $02817

  3D\PHQWVWR6HFXUHG&UHGLWRUV                       
  3XUFKDVHVRI,QYHQWRU\                              
  1HW3D\UROO H[FOXGLQJRIILFHUFRPSHQVDWLRQ         
  2IILFHU&RPSHQVDWLRQ                                
  6XEFRQWUDFWRUVDQG&RQWUDFW:RUNHUV                  
  3D\UROO7D[HV                                       
  6DOHV7D[                                           
  3URSHUW\7D[HV                                      
  6XSSOLHVDQG0DWHULDOV                              
  5HDO3URSHUW\/HDVH3D\PHQWV                       
  9HKLFOH (TXLSPHQW/HDVH3D\PHQWV                 
  8WLOLWLHV 7HOHSKRQH(OHFWULFLW\:DWHU2WKHU     
  7UDYHODQG(QWHUWDLQPHQW                            
  0HDODQG)RRG&RVWV                                 
  7UDQVSRUWDWLRQ&RVWV HJIXHOWROOVSDUNLQJ    
  9HKLFOH0DLQWHQDQFHDQG5HSDLUV&RVWV               
  (TXLSPHQW5HSDLU&RVWV                              
  5HDO3URSHUW\5HSDLUVDQG0DLQWHQDQFH&RVWV        
  9HKLFOH,QVXUDQFH3UHPLXPV                          
  /LIHDQG+HDOWK,QVXUDQFH3UHPLXPV                  
  5HDO3URSHUW\,QVXUDQFH3UHPLXPV                    
  2WKHU,QVXUDQFH3UHPLXPV                            
  2IILFH6XSSOLHV                                     
  )UHLJKWDQG6KLSSLQJ&RVWV                          
  $GYHUWLVLQJDQG0DUNHWLQJ                           
  3URIHVVLRQDO)HHV HJ$WWRUQH\$FFRXQWDQW       
  4XDUWHUO\)HHV                                      
  7UDQVIHUVWRRWKHUDFFRXQWV OLVWODVW             OLVWDPRXQWVEHORZ 
  GLJLWVRIDFFRXQWQXPEHUVEHORZ 
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  2WKHU 3529,'($77$&+0(17                           


                                  Î 727$/  0.00

                   7RWDOHTXDOVLWHP 7RWDO&DVK'LVEXUVHPHQWV RQ3DUW&


                                                                            5HYLVHG'HFHPEHU
Case 19-00730-5-JNC      Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53                      Page 26 of
                                          32



   3$57'6800$5<2)$&&28175(&(,9$%/(6


                                                                       $02817

          %HJLQQLQJ%DODQFH                                          

          6DOHVRQ$FFRXQW                                           

          &ROOHFWLRQVRQ$FFRXQW                                     

          (QGLQJ%DODQFH                                             
            >,WHPSOXVPLQXV@




                           67$7862)&2//(&7,216


                                                     $02817

                  &XUUHQWWRGD\V                

                  WRGD\V                     

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                  GD\VDQGROGHU                

                  727$/                            




     The Debtor's total accounts receivable are unknown to the Trustee at the time of this report.




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Case 19-00730-5-JNC       Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53            Page 27 of
                                           32



       3$57(6800$5<2)$&&281763$<$%/(
                >(;&/8',1*35(3(7,7,21$&&281763$<$%/(@



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                   &XUUHQWWRGD\V                  

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                   WRGD\V                      

                   GD\VDQGROGHU                  


                   727$/                                 0.00
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,IWKHUHDUHSD\DEOHVRXWVWDQGLQJJUHDWHUWKDQGD\VSOHDVHSURYLGHDQH[SODQDWLRQ




                                                                           5HYLVHG'HFHPEHU
Case 19-00730-5-JNC           Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 28 of
                                               32               Click to add Secured Creditors


                  3$57)67$7862)3$<0(17672
                       6(&85('&5(',7256
,QVWUXFWLRQV/LVWDOOVHFXUHGFUHGLWRUVDQGFROODWHUDOGHVFULSWLRQVUHJDUGOHVVLISD\PHQWVDUHPDGH

&KHFNLIWKLVIRUPLVQRWDSSOLFDEOHWRWKH'HEWRU



&UHGLWRU1DPH                   First Capital Corporation
'HVFULSWLRQRI&ROODWHUDO       Blanket Lien
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"          No


&UHGLWRU1DPH                   GEL Funding, LLC
'HVFULSWLRQRI&ROODWHUDO       Blanket Lien
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"          No


&UHGLWRU1DPH                   GE Capital Corporation
'HVFULSWLRQRI&ROODWHUDO       GE Healthcare Global X-Ray System
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"          No

&UHGLWRU1DPH                   First Financial Corporate Leasing, LLC
'HVFULSWLRQRI&ROODWHUDO       Blanket Lien
$PRXQW3DLGWKLV0RQWK          $ 0.00
3D\PHQW3XUVXDQWWR
%DQNUXSWF\&RXUW2UGHU"          No




                                                                             5HYLVHG'HFHPEHU
Case 19-00730-5-JNC          Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53 Page 29 of
                                              32                    Click to add Lessors

         3$57*67$7862)3$<0(17672/(66256
 ,QVWUXFWLRQV/LVWDOOOHVVRUVDQGGHVFULSWLRQRIOHDVHGSURSHUW\UHJDUGOHVVLISD\PHQWVDUHPDGH


&KHFNLIWKLVIRUPLVQRWDSSOLFDEOHWRWKH'HEWRU


/HVVRU1DPH                         BMO Harris Bank, N.A.
'HVFULSWLRQRI/HDVHG3URSHUW\ Master Lease 1012601

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown

/HVVRU1DPH                         Siemens Financial Services, Inc.
'HVFULSWLRQRI/HDVHG3URSHUW\ CA 620- Lease #33056-47615

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown

/HVVRU1DPH                         Siemens Financial Services, Inc.
'HVFULSWLRQRI/HDVHG3URSHUW\ CA 660- Lease #33056-47615

$PRXQW3DLGWKLV0RQWK              $ 0.00
,V/HDVH&XUUHQW"                    Unknown

/HVVRU1DPH

'HVFULSWLRQRI/HDVHG3URSHUW\

$PRXQW3DLGWKLV0RQWK

,V/HDVH&XUUHQW"




                                                                            5HYLVHG'HFHPEHU
  Case 19-00730-5-JNC         Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53               Page 30 of
                                               32

             3$57+6800$5<2)2)),&(52:1(5
             &203(16$7,213523(57<6$/(6$1'
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✔&KHFNLIQRRIILFHUFRPSHQVDWLRQZDVSDLGWKLVPRQWK

                                               0RQWKO\&RPSHQVDWLRQ                   &RPSHQVDWLRQ
 1DPHRI2IILFHU2ZQHURIWKH'HEWRU
                                               $XWKRUL]HGE\WKH&RXUW              5HFHLYHGWKLV0RQWK




 3523(57<6$/(5(3257

✔&KHFNLIWKH'HEWRUGLGQRWVHOODQ\SURSHUW\WKLVPRQWK

                                             'DWH3URSHUW\         *URVV6DOH          1HW6DOH3URFHHGV
      'HVFULSWLRQRI3URSHUW\6ROG
                                                 6ROG              3URFHHGV             3DLGWR'HEWRU




 5(32572)$//3$<0(1760$'(72352)(66,21$/67+,60217+

  &KHFNLIWKH'HEWRUGLGQRWSD\DQ\SURIHVVLRQDOVWKLVPRQWK

                                               'DWH               &RPSHQVDWLRQ           &RPSHQVDWLRQ
         1DPHRI3URIHVVLRQDO              &RPSHQVDWLRQ         $XWKRUL]HGE\WKH       5HFHLYHGWKLV
                                             $SSURYHG                 &RXUW                0RQWK
  Hendren, Redwine & Malone                    5/25/2019             $ 2,601.07             $ 2,601.07




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Case 19-00730-5-JNC          Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53         Page 31 of
                                              32
          3$57,&+$37(548$57(5/<)((6

DISBURSEMENTS INCLUDE6XPWRWDORIDOOGLVEXUVHPHQWVIURPDOORIWKH'HEWRU¶VEDQN
DFFRXQWV±DQG±SD\PHQWVPDGHRQEHKDOIRIWKH'HEWRU'LVEXUVHPHQWVGRQRWLQFOXGHWUDQVIHUV
EHWZHHQWKH'HEWRU¶VDFFRXQWV4XDUWHUO\IHHVDUHQRWSURUDWHG

&DOFXODWLQJWKH)HH8VHWKHWDEOHRQWKHIROORZLQJSDJHWRFRPSXWHWKH$PRXQWRI)HH'XHIRU
HDFKTXDUWHU3D\PHQWRITXDUWHUO\IHHVVKRXOGEHVXEPLWWHGWR'HEWRU¶VDWWRUQH\DQGWKHQ
'HEWRU¶VDWWRUQH\VKRXOGVXEPLWWKHSD\PHQWWKURXJKZZZSD\JRY



2nd Quarter:
                                             'LVEXUVHPHQWV                   'LVEXUVHPHQWVPDGH
                                             PDGHE\'HEWRU                   RQEHKDOIRI'HEWRU

'LVEXUVHPHQWVIRUApril:                   $ 210,123.78            


'LVEXUVHPHQWVIRUMay:                       $ 195,573.13             


'LVEXUVHPHQWVIRUJune:                          $ 0.00               


                      727$/                 $ 405,696.91                           $ 0.00


                      727$/',6%856(0(176                     $ 405,696.91



                      $PRXQWRI)HH'XH

                      $PRXQWRI)HH3DLG




                                                                          Revised 'HFHPEHU 2017
Case 19-00730-5-JNC     Doc 301 Filed 06/24/19 Entered 06/24/19 09:36:53   Page 32 of
                                         32




                      7RWDO'LVEXUVHPHQWIRU    $PRXQWRI)HH'XH
                        WKH4XDUWHU


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